
35 N.Y.2d 792 (1974)
The People of the State of New York, Respondent,
v.
Lansing E. Sickles, Jr., Appellant.
Court of Appeals of the State of New York.
Argued October 9, 1974.
Decided November 20, 1974.
Katheryn D. Katz and William A. Sekellick for appellant.
Ralph W. Smith, Jr., District Attorney (Peter L. Rupert of counsel), for respondent.
Concur: Chief Judge BREITEL and Judges JASEN, GABRIELLI, JONES, WACHTLER, RABIN and STEVENS.
Order reversed and the complaint dismissed. The evidence did not establish the violation of harassment beyond a reasonable doubt, nor did the conduct involved come within the scope of the statute as written.
